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    6
                                   UNITED STATES DISTRICT COURT
    7
                               CENTRAL DISTRICT OF CALIFORNIA
    8

    9   UNITED STATES OF AMERICA,                      Case No. 16-05369-DSF (PLAx)
   10                     Plaintiff,
   11        v.                                        FINAL JUDGMENT OF FORFEITURE
   12
        ALL BUSINESS ASSETS OF THE
   13   VICEROY L’ERMITAGE BEVERLY
        HILLS,
   14
                          Defendant.
   15

   16        Upon consideration of the Unopposed Application for Entry of

   17   Final Judgment of Forfeiture (the “Application”) filed by Plaintiff

   18   United    States     of     America    (the    “Government”)    and    Michael    M.

   19   Eidelman, not individually, but in his capacity as court-appointed

   20   Special    Master     (the     “Special   Master”      and,   collectively     with

   21   Government, the “Movants”), seeking entry of a Final Judgment of

   22   Forfeiture, for good cause the Court hereby finds and orders as

   23   follows:

   24                                          FINDINGS

   25        A.      On    July 20,    2016,    the    Government     initiated    a   civil

   26   forfeiture        action    (the   “L’Ermitage     Business     Assets    Action”)

   27   alleging that all assets relating to the business operated as the

   28   Viceroy    L’Ermitage       Beverly    Hills    (the   “Business      Assets”),   as
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    1   described in Attachment A to the Government’s Verified Complaint

    2   for   Forfeiture      In   Rem   (Case     No. 16-05369,    Dkt.   No. 1-1),    are

    3   subject to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(A) and (C).

    4         B.     On July 20, 2016, the Government initiated a separate

    5   civil forfeiture action (together with the L’Ermitage Business

    6   Assets Action, the “L’Ermitage Actions”) alleging that the real

    7   property     known    as   The    Viceroy    L’Ermitage    Beverly      Hills   (the

    8   “Property”, and together with the Business Assets, the “Defendant

    9   Assets”), as described in Attachment A to the Government’s Verified

   10   Complaint for Forfeiture In Rem (Case No. 16-cv-05368, Dkt. No. 1-

   11   1), is subject to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(A)

   12   and (C).

   13         C.     The     Government     gave     and   published     notice    of   the

   14   L’Ermitage Actions as required by law, including Supplemental

   15   Rule G     for   Admiralty   or    Maritime     Claims    and   Asset   Forfeiture

   16   Actions, the Federal Rules of Civil Procedure and the Local Rules

   17   of this Court.

   18         D.     On November 7, 2016 and October 11, 2017, VHG Beverly

   19   Hills LLC ("VHG") filed claims to the Defendant Assets. (Case

   20   No. 16-cv-05368, Dkt. Nos. 35 and 130; Case No. 16-cv-05369, Dkt.

   21   Nos. 37 and 131).

   22         E.     On March 24, 2017 and October 11, 2017, LBH Real Estate

   23   (Beverly Hills) LLC (“LBH Real Estate”), JW Hospitality Ltd. (“VHG

   24   INTL”), and JW Hospitality LLC (collectively and together with VHG,

   25   “Claimants”) filed claims to the Business Assets. [Case No. 16-cv-

   26   05369, Dkt. Nos. 102 and 130]. On those same dates, LBH Real Estate

   27   also filed claims to the Property. (Case No. 16-cv-05368, Dkt.

   28   Nos. 101 and 129).

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    1         F.    On November 8, 2019, the Court entered a Consent Judgment

    2   of Forfeiture in each of the L’Ermitage Actions as to all Claimants

    3   other than VHG (Case No. 16-cv-05368, Dkt. No. 152; Case No. 16-

    4   cv-05369, Dkt. No. 153) (collectively, the “Consent Judgments”),

    5   pursuant to which all Claimants other than VHG renounced any claims

    6   to the Defendant Assets and any substitute res, and allowed any

    7   interests they held therein to be forfeited to the Government.

    8         G.    On April 30, 2020, the Government and VHG, as the only

    9   remaining    parties   in   the   L'Ermitage       Actions,   filed   a   Joint

   10   Stipulation and Request for Order Authorizing Interlocutory Sale

   11   of   the   Defendant   Assets     in   each   of   the   L’Ermitage   Actions

   12   (collectively, the “Interlocutory Sale Stipulations”). (Case No.

   13   16-cv-05368, Dkt. No. 156; Case No. 16-cv-05369, Dkt. No. 157).

   14         H.    On May 1, 2020, the Court entered orders in each of the

   15   L’Ermitage Actions: (i) finding that the Defendant Assets should

   16   be sold via an interlocutory sale, with the proceeds of such sale

   17   substituted as the defendant res in each action; and (ii) finding

   18   that the procedures set forth in 28 U.S.C. §§ 2001 and 2002, which

   19   statutes govern interlocutory sales of property pending forfeiture,

   20   were not reasonable, appropriate or likely to yield the highest

   21   price for the Defendant Assets. (Case No. 16-cv-05368, Dkt. No.

   22   157; Case No. 16-cv-05369, Dkt. No. 158).

   23         I.    On May 5, 2020, claimant VHG withdrew all of its claims

   24   to the Defendant Assets.     (Case No. 16-cv-05368, Dkt. No. 158; Case

   25   No. 16-cv-05369, Dkt. No. 159).

   26         J.    On May 5, 2020, the Court entered orders in each of the

   27   L’Ermitage Actions appointing the Special Master to market and sell

   28   the Defendant Assets, and approving proposed bidding and sale

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    1   procedures for the Special Master to sell the Defendant Assets

    2   (collectively, the “Sale Procedures”).(Case No. 16-cv-05368, Dkt.

    3   No. 160; Case No. 16-cv-05369, Dkt. No. 161).

    4           K.     On August 31, 2020, the Court entered orders in each of

    5   the L’Ermitage Actions (collectively, the “Final Interlocutory Sale

    6   Orders”): (i) approving the Sale of the Defendant Assets to LBVH

    7   Hotel LLC (the “Purchaser”) pursuant to the terms of set forth in

    8   that certain Agreement for Sale and Purchase of Hotel and Joint

    9   Escrow Instructions (the “Stalking Horse PSA”) for a purchase price

   10   of $100,000,000.00, plus or minus prorations and adjustments as

   11   set forth in the Stalking Horse PSA (the “Substitute Res”);(ii)

   12   approving the Sale of the Defendant Assets free and clear of all

   13   liens,       claims,   encumbrances       and    interests,     including,    without

   14   limitation and at the option of the Stalking Horse Bidder, the

   15   Management Agreement (as that term is defined in the Stalking Horse

   16   PSA); (iii) authorizing the Government to consummate the Sale of

   17   the Defendant Assets and transactions contemplated by the Stalking

   18   Horse    PSA;    and    (iv)    finding    that    the   Sale    was   conducted    in

   19   accordance with the Sale Procedures. (Case No. 16-cv-05368, Dkt.

   20   No. 166; Case No. 16-cv-05369, Dkt. No. 165).

   21           L.     Based upon the Final Interlocutory Sale Orders, the

   22   Government is currently holding the Substitute Res less any Sale-

   23   related       costs    paid    pursuant    to    paragraphs     7-8    of   the   Final

   24   Interlocutory Sale Orders (the “Remaining Substitute Res”) in the

   25   United States Marshal Service’s Seized Asset Deposit Fund (the

   26   “SADF”) pending the conclusion of the L’Ermitage Actions.

   27           M.     Since the closing of the Sale, the Movants and the

   28   Purchaser have worked together to pay or otherwise satisfy all

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    1   valid claims against the Remaining Substitute Res not filed in this

    2   action or otherwise payable by the Purchaser in accordance with

    3   the procedures approved by the Court.

    4        N.      No other claims to the Defendant Assets or Substitute

    5   Res were filed and the time for filing claims has expired.                   Each

    6   of the Claimants’ claims have been fully resolved.

    7        O.      No     party    has   objected     to     the   Application,     the

    8   disbursement of the Remaining Substitute Res, or the closure and

    9   conclusion of the L’Ermitage Actions.

   10        P.      The Court finds, based upon the Application and the

   11   record of these proceedings, the Movants have demonstrated good

   12   cause to grant the Application and approve the relief sought

   13   therein.

   14         IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

   15        1.      The Application is granted.

   16        2.      All rights, titles, and interests of Claimants and all

   17   other potential claimants in and/or to the Substitute Res and

   18   Remaining Substitute Res are hereby forfeited to the Government

   19   pursuant   to      18   U.S.C.   § 981(a)(1)(A)      and   (C),   the   applicable

   20   Supplemental Rules for Admiralty or Maritime Claims and Asset

   21   Forfeiture        Actions,   the   applicable     Federal     Rules     of   Civil

   22   Procedure, and the applicable Local Rules of this Court.

   23        3.      The United States Marshals Service shall dispose of the

   24   Remaining Substitute Res in accordance with applicable law, less

   25   any fees and costs unpaid related to the Sale.

   26        4.      If any or all of the provisions of this Final Judgment

   27   of Forfeiture are hereafter reversed, modified or vacated by a

   28   subsequent order and/or judgment of this Court or any other court,

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    1   such   reversal,       modification    or     vacatur   shall    not   affect   the

    2   validity and enforceability of any transfer and sale contemplated

    3   hereby or obligation or right granted pursuant to the terms of this

    4   Final Judgment of Forfeiture (unless stayed pending appeal), and

    5   notwithstanding any reversal, modification or vacatur, shall be

    6   governed in all respects by this Court’s prior orders approving

    7   the interlocutory sale.

    8          5.    The L’Ermitage Actions are hereby completed and closed.

    9          6.    This Final Judgment of Forfeiture shall be effective and

   10   enforceable immediately upon entry and its provisions shall be

   11   self-executing.

   12          7.    The Court shall retain jurisdiction with respect to all

   13   matters      arising    from   or     related    to     the   implementation    or

   14   interpretation of this Final Judgment of Forfeiture, including but

   15   not limited to, any matter, claim or dispute arising from or

   16   relating to the Sale of the Defendant Assets to the Purchaser, the

   17   Substitute      Res,     the   Remaining        Substitute      Res    and/or   the

   18   implementation of this Final Judgment of Forfeiture.

   19

   20          IT IS SO ORDERED.

   21

   22
        DATED:      May 31, 2022
   23                                          HON DALE S.
                                               HON.      S FISCHER
                                               UNITED STATES DISTRICT JUDGE
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